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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
                                             :       Criminal Case: 18-218 (TSC)
          v.                                 :
                                             :
                                             :
MARIIA BUTINA, also known as                 :
MARIA BUTINA,                                :
                                             :
                      Defendant.             :

                         Joint Motion to Continue Status Conference

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendant Mariia Butina, also known as Maria Butina, through her

counsel, Robert Driscoll and Alfred Carry, Esqs., respectfully request that the Court continue the

status conference in this matter (including the motions-briefing schedule), presently set for

December 6, 2018, for approximately two weeks. In support of this motion, the parties state that

they continue to engage, as they did prior to yesterday’s defense filing, in negotiations regarding

a potential resolution of this matter and that those negotiations would be potentially hindered by

simultaneously engaging in motions practice. The parties further agree that to make the best and

most efficient use of the Court’s time and resources to decide any motions in the event those

negotiations are unsuccessful, it would be prudent to continue the upcoming hearing and its

accompanying motions schedule for approximately two weeks. If the Court grants this motion,

the defendant will withdraw the motion and accompanying documents she filed yesterday [ECF

No. 52], without prejudice to refiling within any motions hearing the Court sets.

       The parties thus jointly request that the Court vacate the current motions schedule and

motions hearing date; reset this case for a status conference to take place on December 18, or 19,

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2018, if either of those dates are convenient for the Court. The parties also jointly request that the

present motions schedule be set back by two weeks. The Court should thus direct the defense to

file any dispositive motions on or before November 30, 2016. Any government responses would

be due on or before December 14, 2018, and any defense reply would be due on or before

December 17, 2018.

       The parties also jointly request that the Court continue to exclude time under the Speedy

Trial Act between now and the next date set. The defendant, through counsel, does not object to

this request. For the reasons stated in previous hearings, the parties request that the Court find that

this period of delay serves the ends of justice, and that those ends outweigh the best interest of the

public and the defendant in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A) & (B)(ii).

                                                       Respectfully submitted,

     /s/ Robert N. Driscoll________                    JESSIE K. LIU
     Robert N. Driscoll (DC Bar No. 486451)            UNITED STATES ATTORNEY
                                                       D.C. Bar Number 472845
     /s/ Alfred D. Carry___________
     Alfred D. Carry (DC Bar No. 1011877)              By:___________/s/____________
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                                                                 /s/_______________
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
                                             :      Criminal Case: 18-218 (TSC)
          v.                                 :
                                             :
                                             :
MARIIA BUTINA, also known as                 :
MARIA BUTINA,                                :
                                             :
                       Defendant.            :

                                            ORDER

       Upon consideration of the parties’ Joint Motion to Continue Status Conference, ECF No.

___, it is hereby ORDERED that the Status Conference and Motions Schedule, which were set

at a status by Order of this Court, ECF No. 47, are hereby VACATED. It is FURTHER

ORDERED that the parties shall appear for a status conference before this Court on

________________________ at ________.

       It is FURTHER ORDERED that any dispositive motions are due by November 30,

2018. Any responses are December 14, 2018, and any replies are due by December 17, 2018.

The Court finds, based on the representations in the parties’ Joint Motion to Continue Status

Hearing, that the defendant’s Motion to Dismiss or Compel Election Between Multiplicitous

Counts, ECF No. 52 and related documents, is WITHDRAWN WITHOUT PREJUDICE to

refiling consistent with the dates above.
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       FURTHER ORDERED that time between the date of this Order and

____________________ shall be excluded from calculation under the Speedy Trial Act, 18

U.S.C. § 3161. The parties are engaged in negotiations about a potential pretrial resolution of

this matter. For that reason and the reasons stated at the hearing on September 10, 2018,

including the complex nature of this case the Court finds that the ends of justice served by this

continuance outweigh the best interests of the public and the defendant in a speedy trial. See 18

U.S.C. § 3161(h)(7)(A) & (B)(ii).

       SO ORDERED.




       Date: November ___, 2018                      _________________________________
                                                     The Honorable Tanya S. Chutkan
                                                     United States District Judge
